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                           EXHIBIT 1
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                          REDACTED
                            IN ITS
                          ENTIRETY
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                           EXHIBIT 2
Case 1:12-cv-01581-LPS Document 280-1 Filed 10/18/17 Page 4 of 4 PageID #: 17851




                          REDACTED
                            IN ITS
                          ENTIRETY
